          Case 3:18-md-02843-VC Document 1184 Filed 10/10/23 Page 1 of 3


 1

 2

 3

 4

 5

 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                   SAN FRANCISCO DIVISION

11   IN RE: FACEBOOK, INC. CONSUMER                 CASE NO. 3:18-MD-02843-VC
     PRIVACY USER PROFILE LITIGATION,
12                                                  FINAL JUDGMENT
13   This document relates to:
14   ALL ACTIONS
15

16

17

18

19
20

21

22

23

24

25

26
27

28


                                          FINAL JUDGMENT
                                       CASE NO. 3:18-MD-02843-VC
          Case 3:18-md-02843-VC Document 1184 Filed 10/10/23 Page 2 of 3


 1            On October 10, 2023, the Court signed and entered its Order Granting Final Approval of
 2   Class Action Settlement Pursuant to Federal Rule of Civil Procedure 23(e)(2) and its Order Awarding
 3   Attorneys’ Fees, Expenses and Service Awards in the above-captioned matter as to the following
 4   class of persons:
 5                   All Facebook users in the United States between May 24, 2007, and December
                     22, 2022, inclusive.
 6

 7   Excluded from the Settlement Class are (i) Meta and its employees, alleged co-conspirators, officers,
 8   directors, legal representatives, heirs, successors, and wholly or partly owned subsidiaries or affiliated
 9   companies; (ii) counsel for any plaintiff whose case was consolidated into this MDL and their
10   employees, including but not limited to the undersigned counsel for Plaintiffs and the undersigned
11   counsel’s employees; (iii) individuals who submitted timely exclusion requests who are reflected in
12   Exhibit A hereto; (iv) the Discovery Mediators, Special Master, and Settlement Mediator who
13   participated in this case and their staff; and (v) the Judges and Court staff to whom this Action is or
14   was assigned.
15            JUDGMENT IS HEREBY ENTERED, pursuant to Federal Rule of Civil Procedure 58, as to
16   the specified class of persons; Settlement Class Representatives Steven Akins, Jason Ariciu, Anthony
17   Bell, Bridgett Burk, Terry Fischer, Tyler King, Jordan O’Hara, and Cheryl Senko; Defendant
18   Facebook, Inc. (now known as Meta Platforms, Inc.); and the Non-Prioritized Defendants, Stephen
19   Kevin Bannon and Aleksandr Kogan a/k/a Aleksandr Spectre, on the terms and conditions of the
20   Settlement Agreement approved by the Court’s Final Approval Order.
21            1.     For purposes of this Order, the Court adopts the terms and definitions set forth in the
22   Settlement Agreement unless otherwise defined in the Preliminary Approval Order or Final Approval
23   Order.
24            2.     Payments to Settlement Class Members shall be made as outlined in the Plan of
25   Allocation as approved by the Court in the Final Approval Order.
26            3.     Upon the Effective Date: (i) the Settlement Agreement shall be the exclusive remedy
27   for any and all Released Claims of Settlement Class Representatives and Settlement Class Members;
28   and (ii) Settlement Class Representatives and Settlement Class Members stipulate to be and shall be

                                                         1
                                              FINAL JUDGMENT
                                           CASE NO. 3:18-MD-02843-VC
            Case 3:18-md-02843-VC Document 1184 Filed 10/10/23 Page 3 of 3


 1   permanently barred from initiating, asserting, or prosecuting against the Released Parties in any federal
 2   or state court or tribunal any and all Released Claims.
 3            4.       Likewise, upon the Effective Date, Defendant and each of the other Released Parties
 4   shall be deemed by operation of law to have released, waived, discharged, and dismissed each and
 5   every claim relating to the institution or prosecution of the Action by Settlement Class Representatives,
 6   Class Counsel and the Settlement Class. Notwithstanding the foregoing, the release shall not include
 7   any claims relating to the continued enforcement of the Settlement, Pretrial Order No. 10 (Protective
 8   Order) or Plaintiffs’ motion for sanctions, including but not limited to Dkt. Nos. 122, 878, 911, 922,
 9   984, 1000, 1008, 1061, 1063, 1079, and 1104.
10            5.       This Action is settled and dismissed on the merits with prejudice.
11            6.       Without affecting the finality of this Judgment, the Court reserves jurisdiction over the
12   Settlement Class Representatives, the Settlement Class, Class Counsel, and Defendant as to all matters
13   concerning administration, consummation, and enforcement of the Settlement Agreement.
14            IT IS SO ORDERED.
15

16            DATED: October 10, 2023
17
                                                              Hon. Vince Chhabria
18                                                            United States District Judge
     4885-3923-4688, v. 3
19
20

21

22

23

24

25

26
27

28

                                                          2
                                                 FINAL JUDGMENT
                                              CASE NO.3:18-MD-02843-VC
